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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 Michael Kane, et al.,
                                              Plaintiffs,
                                                                      21-CV-7863
                -against-
                                                                      DECLARATION OF
                                                                      VICKI BERNSTEIN
Bill de Blasio, et al.,

                                            Defendants.
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                 VICKI BERNSTEIN, under penalty of perjury, declares pursuant to 28 U.S.C. §

1746, that the following statements are true and correct:

                 1.       I am the Chief Human Capital Officer at the New York City Department of

Education (DOE). I submit this declaration in opposition to Plaintiffs’ application for a temporary

restraining order and preliminary injunction enjoining the DOE from implementing a COVID-19

vaccination mandate for all DOE employees and other personnel in DOE schools. I am familiar

with the facts set forth herein based on my personal knowledge as well as discussions with other

DOE employees and the review of DOE records and publicly available information.

                 2.       Plaintiffs are DOE employees who are represented in collective bargaining

by the United Federation of Teachers (UFT) or the Council of Supervisors and Administrators

(CSA), unions that represent DOE teachers and DOE school supervisors such as principals and

assistant principals, respectively.

                 3.       On September 10, 2021, an arbitrator issued a decision to resolve the

impasse between the UFT and the City of New York regarding the implementation of the

Commissioner of Health order mandating vaccination of DOE employees (Vaccination Mandate).

The decision established a process for UFT members to request medical and religious exemptions


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from the Vaccination Mandate as well as non-exemption accommodations, and an appeals process

for any denials of such requests. The arbitrator issued a similar decision on September 15, 2021

for CSA members. A copy of these decisions is annexed collectively hereto as Exhibit “A.”

                4.     Each of the plaintiffs is represented by UFT or CSA.

                5.     Under the Vaccination Mandate, DOE employees were required to submit

proof of receipt of at least one dose of the vaccine by Friday, October 1, 2021. As of today’s date,

95% of DOE employees have complied; approximately 7,000 employees of a total of

approximately 147,000 total DOE employees (including both school staff and staff in

administrative offices) have not complied.

                6.     The DOE maintains school-specific information regarding the number of

teachers in compliance with the Vaccination Mandate (i.e., for whom there is a record of receipt

of at least one vaccine dose) to identify where substitute coverage is needed. For the seven schools

where the plaintiffs who serve as teachers work, current teacher compliance is as follows:

            School 28Q896 (Michael Kane): 31 out of 34 teachers, or 91%, are in compliance;

            School 75K369 (Trinidad Smith): 120 out of 124 teachers, or 97%, are in compliance;

            School 04M038 (Margaret Chu): 21 out of 22 teachers, or 95%, are in compliance;

            School 31R036 (Stephanie DiCapua): 55 out of 61 teachers, or 90%, are in compliance;

            School 02M416 (Robert Gladding): 32 out of 34 teachers, or 94%, are in compliance;

            School 11X068 (Nwakaego Nwaifejokwu): 56 out of 61 teachers, or 92%, are in
             compliance;

            School 24Q012 (Ingrid Romero): 62 out of 67 teachers, or 93%, are in compliance.

Dated:          October 4, 2021
                New York, New York
                                                      By: ________________________
                                                            Vicki Bernstein
                                                            Chief Human Capital Officer

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